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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

RICHARD LOWERY, on behalf of
himself and others similarly situated,

Plaintiff,
Vv.

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TEXAS A&M UNIVERSITY; M. §

KATHERINE BANKS, in her official §

capacity as President of Texas A&M §

University; ALAN SAMS, in his official § Civil Action No. 4:22-cv-3091

capacity as Interim Provost and Vice §
President for Academic Affairs for Texas §
A&M University; ANNIE S. §
MCGOWAN, in her official capacity as §
Vice President and Associate Provost for §
Diversity at Texas A&M University; and §
N.K. ANAND, in his official capacity as §
Vice President for Faculty Affairs at §
Texas A&M University, §
§
§

Defendants.

DECLARATION OF N.K. ANAND

l. My name is N.K. Anand. I am over the age of 18 and competent in all
respects to make this declaration.

2. I have personal knowledge of the facts stated in this declaration, all of which
are true and correct, and if called as a witness, I could and would testify competently

thereto.
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3 I am a Professor of Mechanical Engineering at Texas A&M University at
College Station (“TAMU”). I am also the Vice President for Faculty Affairs at TAMU. I
have held this position since February 1, 2022. By virtue of my position as Vice President
for Faculty Affairs, I have knowledge of the current faculty hiring policies, procedures,
and programs at TAMU, including at the Mays Business School, which houses TAMU’s
Department of Finance.

4. The Accountability, Climate, Equity, and Scholarship Faculty Fellows
Program (“ACES Fellows”) is a faculty hiring program at TAMU for early-career Ph. Ds
(i.e., those within four years of earning their degrees). Applicants of all races, ethnicities,
and genders are eligible to apply, and all hiring decisions are made on an equal employment
opportunity basis, in compliance with TAMU’s policy on equal employment opportunity.
ACES Fellows was launched in 2018. Individual schools and colleges at TAMU must opt
in to participate in ACES Fellows. The Mays Business School has never opted into ACES
Fellows, and it has elected not to participate in ACES Fellows in the 2023-24 academic
year.

5. The ACES Plus Program (“ACES Plus”) is a faculty hiring program at
TAMU for new mid-career and senior tenure-track hires. A memorandum announcing
ACES Plus was released in July 2022, and a memorandum clarifying ACES Plus was
released in December 2022. Applicants of all races, ethnicities, and genders are eligible to
apply to ACES Plus, and while no hiring decisions have been made to date, all such
decisions will be made on an equal employment opportunity basis, in compliance with

TAMU’s policy on equal employment opportunity. As with ACES Fellows, individual

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schools and colleges at TAMU must opt into participate in ACES Plus. If a school or
college does opt in to ACES Plus, and a qualified candidate submits an application and is
selected, a position or faculty line is created for that candidate. The Mays Business School
has never opted in to ACES Plus, and it has elected not to participate in ACES Plus in the
2023-24 academic year.

6. On March 2, 2023, Texas A&M University System Chancellor John Sharp
directed all universities and agencies in the system to remove Diversity, Equity and
Inclusion (“DEI”) statements from their employment or admission practices. Chancellor
Sharp issued system-wide guidance standardizing all faculty application components to
(i) employment application, (ii) cover letter, (iii) curriculum vitae, (iv) personal statement
to include philosophy and plans for research, teaching, and service, as applicable, and
(v) professional references. A true and correct copy of the news release announcing
Chancellor Sharp’s directive and transmitting the system-wide guidance is attached as
Exhibit 1. The guidance is also accessible online at htipsdinews:tanus.edu/texas-atn-
system-removes-dei-statements/.

7. In accordance with TAMU and Texas A&M University System policies and
guidance, all faculty hiring decisions in the Mays Business School are based on the
approved application components. There is no position or faculty line at the Mays Business

School that is “reserved” for members of underrepresented minority groups.

8. Since July 2022, the Mays Business School has posted eight job openings for

tenured or tenure-track faculty. Since July 2022, six tenured/tenure track faculty at

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associate and full professors were hired of which three were Asian females, two were white

males, and one Asian male.

I declare under penalty of perjury that the foregoing is true and correct. Executed

on March 27, 2023 in College Station, Texas.

ee dvdund

N.K. Anand

